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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

WALTER L. GOODWIN, Case No. CIV No. 14-01724
Plaintiff,
DECLARATION OF TONY MARTINEZ,
v. SIS TECHNICIAN
FEDERAL BUREAU OF PRISONS,
Defendant.

I, Tony Martinez, declare and state as follows:

1. I am a Special Investigative Supervisor (SIS) Technician, with the United States
Department of Justice (DOJ), Federal Bureau of Prisons (BOP), serving in the United States
Penitentiary (USP) in Tucson, Arizona. In this capacity, I serve as a federal law enforcement
officer.

2. As part of my duties, I am familiar with the records compiled by the BOP and
have access thereto. I assist in conducting investigations and investigative research in the
preparation of cases for presentation to the Disciplinary Hearing Officer, the FBI and/or the U.S.
Attorney for possible prosecution up to and including possible testimony before the Grand Jury
and testimony during criminal trial. I work in conjunction with the SIS Lieutenant and the
Special Investigative Agent in the investigation of any and all incidents involving inmates. I
have a working knowledge of investigative techniques, control of evidence and preservation of
crime scenes. I am aware of the need to maintain confidentiality, accuracy and reliability in all

investigations is of the utmost importance. In my position, I am one of the few staff who have the

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authority to access all video captured and stored from the closed circuit television (CCTV)
system throughout the institution.

3. The United States Penitentiary in Tucson, Arizona (USP Tucson) is a high
security federal correctional facility where persons are housed while serving sentences of
imprisonment. I have worked in the correctional services department at USP Tucson as an
officer and now as an SIS Technician for 16 years. USP Tucson utilizes CCTV for live
monitoring of inmates as well as recorded video for investigations. Information about the camera
location, capabilities, and coverage of these cameras is considered sensitive information. The use
of surveillance cameras inside the facility is designed to deter and help prevent and reduce
prohibited and criminal acts, as well as actually assisting in and facilitating the investigation of
criminal and otherwise prohibited activities within the facility.

4, In May of 2014 I was asked to search for and produce the video footage of the
October 25, 2013, incident that occurred at USP Tucson in the Psychology department with
Inmate Walter Goodwin, Register Number 32453-160, and staff member N. Wiggin. I searched
several Pelco workstations within the SIS office, where such video footage, if maintained, would
be stored. On the hard drive of Pelco workstation 0615103460, I located an eight minute and
thirty-five second video clip which commenced at 9:44:16 a.m. and ended at 9:52:50 a.m., which
I concluded, was responsive to the request. My search for this item took approximately 30
minutes.

3% The video recording depicts the physical layout of an area located within the
Psychology Department at the entrance to the Education Corridor of the USP. The video shows
a verbal interaction between Inmate Goodwin and a psychology staff member then depicts an

immediate use of force and the response by multiple staff members to a call for assistance.

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6. I located the video footage and was asked to copy the saved video to a Digital
Video Disc (DVD). I downloaded the video to a DVD, which was later provided to the FOIA
Coordinator, who sent the DVD to the regional office for processing.

Vs I am familiar with the software that the USP uses to record, maintain, and
reproduce copies of video surveillance footage. I have used this device on multiple occasions to
preserve footage as possible evidence and produce such footage as possible evidence in criminal
and disciplinary matters. The system does not allow the user to manipulate the images on the
video in any way. To my knowledge, the only way to manipulate the image shown in this video
recording would be to use video editing software. I do not have access to nor am I aware of any
software at the USP that could be used to manipulate the video to prevent the image of the
physical layout of the facility, nor conceal the identities of the persons captured on the video.

I declare under penalty of perjury that the foregoing is true and correct.

Date: lia [rad VW. VW
, Tony Martinez, SIS ‘Kechnician
Tucson, Arizona

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